        Case 1:15-cr-10338-FDS Document 1819 Filed 01/16/18 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                            )
                                                    )
              v.                                    )      Criminal No. 15-10338-FDS
                                                    )
6.     HERZZON SANDOVAL                             )
       a/k/a “CASPER,”                              )
                                                    )
7.     EDWIN GUZMAN                                 )
       a/k/a “PLAYA,”                               )
                                                    )
11.    CESAR MARTINEZ                               )
       a/k/a “CHECHE,”                              )
                                                    )
14.    ERICK ARGUETA LARIOS                         )
       a/k/a “LOBO,”                                )
                                                    )
                      Defendants                    )

           GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION
          IN LIMINE TO EXCLUDE RECORDED STATEMENTS OF CW-1

       The United States opposes the Motion in Limine to Exclude Statements Contained on

Audio/Videotape of CW-1 in Violation of Defendants Right to Confrontation (D.1737) filed by

defendant Erick Argueta Larios, a/k/a “Lobo,” and joined by defendants Herzzon Sandoval,

a/k/a “Casper” (D.1740), Edwin Guzman, a/k/a “Player” (D.1753), and Cesar Martinez,

a/k/a “Cheche” (D.1777). The defendants concede that the statements of co-conspirators

captured in the recordings made by CW-1 during and in furtherance of the conspiracy are

conditionally admissible, but argue that the admission of recorded testimonial statements

made by CW-1, a government informant who is not expected to testify at trial, would violate

their Sixth Amendment confrontation rights. Because the statements of CW-1 captured on

the recordings are not being offered for their truth, their admission at trial does not implicate

the Confrontation Clause. The defendants’ motion should be denied.
        Case 1:15-cr-10338-FDS Document 1819 Filed 01/16/18 Page 2 of 3



       The Sixth Amendment’s Confrontation Clause provides that “[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to be confronted with the witnesses against

him.” U.S. Const. amend. VI. The Supreme Court held in Crawford v. Washington, 541 U.S.

36, 68 (2004), that the Confrontation Clause bars admission of testimonial hearsay in a

criminal case unless the declarant is unavailable and the accused has had a prior opportunity

for cross-examination. Crawford analysis generally requires a court to consider two threshold

issues: “(1) whether the out-of-court statement was hearsay, and (2) whether the out-of-court

statement was testimonial.” United States v. Earle, 488 F.3d 537, 542 (1st Cir. 2007).

       The admission of CW-1’s recorded statements do not implicate the defendants’ Sixth

Amendment rights because, although testimonial, they are not being offered for their truth

and therefore are not hearsay. Contrary to the defendants’ assertion, the government has no

intention of offering CW-1’s statements for the truth. Rather, CW-1’s statements will be

offered only to provide necessary context for the defendants’ statements, which are admissible

against the defendant who made them under Fed. R. Evid. 801(d)(2)(A), and their co-

conspirators’ statements, which are admissible against all defendants under Fed. R. Evid.

801(d)(2)(E). It is well-settled in this Circuit that the government’s use of a non-testifying

individual’s statements in this manner does not run afoul of the rule against hearsay or the

Sixth Amendment. See United States v. Occhiuto, 784 F.3d 862, 866 (1st Cir. 2015) (recorded

statements of non-testifying individual “were not admitted to prove the truth of the matter

asserted but rather to provide context for [defendant’s] statements, and thus did not violate

the Confrontation Clause”) (quoting United States v. Hicks, 575 F.3d 130, 143-44 (1st Cir.

2009)); United States v. Liriano, 761 F.3d 131, 136-37 (1st Cir. 2014) (same); United States v.

Santiago, 566 F.3d 65, 69 (1st Cir. 2009) (same); United States v. Walter, 434 F.3d 30, 33-34 (1st


                                                2
          Case 1:15-cr-10338-FDS Document 1819 Filed 01/16/18 Page 3 of 3



Cir. 2006) (same). Moreover, the government assumes that the Court will instruct the jury

that it cannot consider CW-1’s statements for their truth, and that the jury will faithfully obey

such an instruction. The government therefore requests that the Court deny the defendants’

motion.

                                            Respectfully submitted,

                                            ANDREW E. LELLING
                                            United States Attorney

                                      By:   /s/ Kelly Begg Lawrence
                                            KELLY BEGG LAWRENCE
                                            CHRISTOPHER POHL
                                            Assistant United States Attorneys


                               CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system on January 16, 2018, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).

                                     By:    /s/ Kelly Begg Lawrence
                                            KELLY BEGG LAWRENCE
                                            Assistant United States Attorney




                                               3
